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                                       #:3196


   1   DAVIS LAW OFFICE
       D. Jason Davis (SBN 193225)
   2   400 Continental Blvd., 6th Floor
       El Segundo, CA 90265
   3   Phone: (424) 256-6279
       Email: jason@davislo.com
   4
       Attorneys Plaintiff and Judgment Creditor
   5   Jonathan David Parker
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   8                      UNITED STATES DISTRICT COURT
   9     CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
  10   DAVID PARKER and BIG BIRD                 CASE NO.: 8:12-cv-01994-DOC-JCG
       HOLDINGS, LLC,
  11
                    Plaintiffs,                  [PROPOSED] RENEWAL OF
  12   vs.                                       JUDGMENT BY CLERK
  13   ALEXANDER MARINE CO., LTD.,               [NO HEARING SCHEDULED]
  14                Defendant.
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  17         On February 2, 2015, Judgment was entered in favor of Plaintiffs David
  18   Parker and Big Bird Holdings, LLC against Defendant and Judgment Debtor
  19   Alexander Marine Co., Ltd (“DEBTOR”) in the sum of $3,931,059.71. [Docket
  20   103] On March 21, 2019, a Second Amended Judgment was entered to include
  21   prejudgment interest in the amount of $6,508.11, and attorneys’ fees in the amount
  22   of $273,534.25 for a total judgment amount of $4,204,593.96 [Docket 207]
  23   (“JUDGMENT”).
  24         On September 3, 2024, the judgment was amended to substitute Plaintiff and
  25   Judgment Creditor Jonathan David Parker (“JUDGMENT CREDITOR”) as the
  26   successor-in-interest of David Parker as a result of the death of David Parker.
  27   [Docket 221] On October 24, 2024, Plaintiff and Judgment Creditor Big Bird
  28   Holdings, LLC assigned all of its right, title and interest in the JUDGMENT to
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   1   Jonathan David Parker. [Docket 223] No judgment liens have been filed with the
   2   California Secretary of State or otherwise. No abstracts of judgment have been
   3   recorded.
   4         NOW, upon application of the JUDGMENT CREDITOR:
   5         The money judgment against DEBTOR is renewed in the amount of
   6   $4,276,100.12 as follows:
   7               a.     Total JUDGMENT ………………………….                      $4,204,593.96
   8               b.     Costs after judgment ………………………..                         $0.00
   9               c.     Interest after JDUGMENT computed from
  10                      February 3, 2015 to February 2, 2025 (3,652
  11                      days) at 0.17% accruing at $19.58 per day….        $71,506.16
  12               d.     Less credits after JUDGMENT ……………..                      $0.00
  13               e.     Total Renewed Judgment                          $4,276,100.12
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  16          February 3,_____
                          2025__
       DATED: ______________                 _________________________________
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  17                                         CLERK
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   1                            CERTIFICATE OF SERVICE
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              I certify that on February 3, 2025, I electronically filed the foregoing
   3   [PROPOSED] RENEWAL OF JUDGMENT BY CLERK with the Clerk of the
   4   Court for the United States District Court, Central District of California, by using
       the CM/ECF system. Participants in the case who are registered CM/ECF users
   5   will be served by the CM/ECF system.
   6

   7

   8   Dated: February 3, 2025                  DAVIS LAW OFFICE
   9
                                                By:   /s/ D. Jason Davis
  10                                               D. Jason Davis, Esq.
                                                Attorneys for Plaintiff and Judgment
  11                                            Creditor Jonathan David Parker
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